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   13                        UNITED STATES DISTRICT COURT
   14                 CENTRAL DISTRICT OF CALIFORNIA
   15 MARCUS GRAY, et al.,
   16         Plaintiffs,           CASE NO. 2:15-cv-05642-CAS (JCx )

   17         v.                             Honorable Christina A. Snyder

   18 KATHERYN ELIZABETH                    REPLY IN SUPPORT OF
      HUDSON, et al.,
                                            PLAINITIFFS’ MOTION FOR AN
   19
               Defendants.                  AWARD OF PREJUDGMENT
   20                                       INTEREST
   21
                                            Date: January 27, 2020
   22                                       Time: 10:00 a.m.
                                            Ctrm: 8D—8th Floor, First Street
   23
   24                                       Filed: July 1, 2014
                                            Trial: July 17, 2019
   25
   26
   27
   28

         REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR AN AWARD OF PREJUDGMENT INTEREST
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    1
              Stephen King famously wrote, “The road to hell is paved with adverbs.” 1 So,
    2
        too, is Defendants’ overheated opposition, the first page of which includes such
    3
        adverbial zingers as “staggering,” “shocking,” “vast windfall,” and “complete
    4
        disregard.” [Dkt. 497]. Defendants claim to be “shocked” that Plaintiffs would
    5
        seek prejudgment interest on a damage verdict entered nearly 6 years after release
    6
        of Defendants’ blockbuster hit and more than 5 years after commencement of this
    7
        lawsuit. That verdict—the supposed “vast windfall”—allows each of these
    8
        Defendants to retain close to 80% of the profits from their infringing song.
    9
              Moreover, as discussed below, and as confirmed on the revenue statements
   10
        created by Defendants and marked as joint trial exhibits, by the end of 2014—more
   11
        than 4½ years before trial—each Defendant had earned profits far in excess of the
   12
        22.5 percent the jury awarded to Plaintiffs. Defendants’ subjective belief regarding
   13
        the propriety, size, or adequacy of the jury award is irrelevant to the instant motion.
   14
        Rather, as set forth in Plaintiffs’ Opposition to Defendants’ Post-Trial Motions
   15
        [Doc. 499], the jury’s award was rooted in the evidence at trial.
   16
              As the Court knows, the primary purpose of an award of prejudgment interest
   17
        is restitution. Irrespective of the size of the jury verdict, unless prejudgment
   18
        interest is awarded, Defendants will unfairly retain lucrative benefits of their
   19
        wrongdoing. As such, the Ninth Circuit’s holding in Frank Music Corp., 886 F.2d
   20
        1545, 1552 (9th Cir. 1989) (emphasis added) has particular relevance here:
   21
                  Awarding prejudgment interest on the apportioned share of defendant's
   22         profits is consistent with the purposes underlying the profits remedy.
   23         Profits are awarded to the plaintiff not only to compensate for the plaintiff's
              injury, but also and primarily to prevent the defendant from being unjustly
   24
              enriched by its infringing use of the plaintiff's property…For the
   25         restitutionary purpose of this remedy to be served fully, the defendant
   26         generally should be required to turn over to the plaintiff not only the profits
   27
        1
            Stephen King, On Writing: A Memoir of the Craft (Scribner 2010).
   28                                                   2
            REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR AN AWARD OF PREJUDGMENT INTEREST
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    1       made from the use of his property, but also the interest on these profits,
    2       which can well exceed the profits themselves.
    3 An award of prejudgment interest here would thus prevent Defendants’ unjust
    4 enrichment and fill the gap in an award of profits, which “does not necessarily
    5 compensate for the time delay occasioned by infringement and eventual recovery.”
    6 Polar Bear Prods., Inc. v. Timex Corp., 384 F.3d 700, 718 (9th Cir. 2004). Here,
    7 that time delay—more than five years—has been extreme.
    8                                 ARGUMENT
    9
           A. Case law supports the award of prejudgment interest.
   10
           Though Defendants argue that courts generally deny an award of prejudgment
   11
        interest on a jury award of profits, this is not consistent with Ninth Circuit law. In
   12
        William Hablinski Architecture v. Amir Constr., Inc., 2007 WL 9734429 (C.D. Cal.
   13
        Feb. 28, 2007) (Snyder, J.), this Court recognized the Ninth Circuit’s disapproval
   14
        of “such a limitation of prejudgment interest…” Id. at *4 (citing Polar Bear
   15
        Productions, Inc. v. Timex Corp., 384 F.3d 700 (9th Cir. 2004) and declining an
   16
        award of prejudgment interest only after determining that no profits had yet been
   17
        realized by the sale of the infringing home design at issue in the case).
   18
           Moreover, this Court recognized in William Hablinski that the Ninth Circuit has
   19
        expressly permitted the award of prejudgment interest on awards of profit in music
   20
        copyright cases, quoting the Ninth Circuit holding in Frank Music that a defendant
   21
        “should be required to turn over to the plaintiff not only the profits made from the
   22
        use of his property, but also the interest on these profits, which can well exceed the
   23
        profits themselves.” Id. *5 (quoting Frank Music Corp., 886 F.2d 1545, 1552 (9th
   24
        Cir. 1989). Frank Music not only supports an award of prejudgment interest on
   25
        profits, but it suggests that such awards “generally should be required.” Id.
   26
   27
   28
                                                   3
         REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR AN AWARD OF PREJUDGMENT INTEREST
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    1        B. Defendants’ own documents establish the fairness of awarding
    2           prejudgment interest on 22.5% of their profits.
    3         In accordance with Ninth Circuit precedent, the dispositive consideration in
    4 determining whether to award prejudgment interest is whether these Defendants
    5 would otherwise retain benefits derived from their wrongful exploitation of
    6 Plaintiffs’ copyright. If so, Plaintiffs are entitled to recover these benefits as a
    7 matter of restitution.
    8         Defendants’ own financial documents underscore the fairness issue here. By
    9 the end of 2014—more than 4½ years before the trial—Defendants had already
   10 earned far more than 22.5 percent of their total infringement revenues, as
   11 conclusively established by financial documents created by Defendants and
   12 marked as Joint Trial Exhibits 105 through 110 and 116 (the “Joint Trial
   13 Exhibits”). See Declaration of Michael A. Kahn, filed separately today (“Kahn
   14 Decl.”). For example, Joint Trial Exhibit 110 shows that by the end of 2014
   15 Defendant Karl Martin Sandberg had earned 63 percent of his total Kobalt income,
   16 79 percent of his to ASCAP income, 38 percent of his total SoundExchange
   17 income, and 70 percent of his total producer income. Thus, in aggregate, by the
   18 end of 2014—more than 4½ years before the trial—he had received 68 percent of
   19 his total income from “Dark Horse.” Kahn Decl. ¶ 6. Likewise, by the end of 2014,
   20 Defendant Katy Perry had earned close to half of her total income from “Dark
   21 Horse.” Decl. ¶ 7. The remaining Joint Trial Exhibits confirm that each of the
   22 Individual Defendants had earned well in excess of 22.5 percent of their income
   23 from “Dark Horse” by the end of 2014. Kahn Decl. ¶ 82 The same is true for the
   24
   25
   26   2
          To avoid a lengthy damages trial and the disclosure of the Individual Defendants’ detailed
   27   revenue receipts, the parties agreed to read profit stipulations into evidence, which documented
        only the total profits received by the Individual Defendants. The above-referenced Joint Trial
   28   Exhibits provide financial detail on a quarterly basis.
                                                        4
            REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR AN AWARD OF PREJUDGMENT INTEREST
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        corporate Defendants. By the end of 2014, Capitol Records had earned more than
    2
        70% of its total revenues. Kahn Decl. ¶¶ 9-10.
    3
           Thus basic notions of fairness urge that, at the very latest, prejudgment interest
    4
        should be assessed on the jury’s award of profits beginning no later than January 1,
    5
        2015 through entry of the judgment. Calculating interest from an alternative date,
    6
        such as the date of the jury’s verdict, would result in a windfall for Defendants’
    7
        who would retain the benefit derived from the time-value and use of their wrongful
    8
        profits. Polar Bear, 348 F.3d at 718 (“[Defendants] would otherwise benefit from
    9
        this component of profit through their unlawful use of another’s work.”).
   10
           C. Defendants purported ancillary “factors” do not override Ninth Circuit
   11         precedent requiring awards of prejudgment interest as an important
   12         element of restitution.
   13      Defendants urge the Court to ignore established Ninth Circuit law that
   14 prejudgment interest is a function of restitution and grounded in fairness. In so
   15 doing, they ignore the inequity of being able to use $2.8 million in wrongful profits
   16 for their personal benefit for more than four years. Instead, they urge the Court to
   17 consider a hodgepodge of ancillary “factors” culled from non-music copyright
   18 cases, each with its unique context. These one-off factual cases are largely
   19 unanalyzed by Defendants. As such, the Defendants have not shown that any of
   20 these “factors” are applicable here.
   21      For instance, in Societe Civile Succession Guino v. Renoir prejudgment interest
   22 had been denied where liability was vigorously contested because, among other
   23 things, the defendants believed that the plaintiff’s copyrights in the sculptures at
   24 issue had fallen into the public domain—a belief supported by various Copyright
   25 Office Circulars and copyright treatises. Renoir, 305 F. App’x 334, 339 (9th Cir.
   26 2008). In other words, liability was contested on the basis of the uncertain state of
   27 applicable law, a point highlighted in the court’s opinion. Id.
   28
                                                  5
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    1
              Here, by contrast, there were no such extenuating circumstances. Like most
    2
        music copyright cases, Defendants principally argued that they did not copy
    3
        Plaintiffs’ work. The jury disagreed. It would be unjust if Defendants could avoid
    4
        the full measure of damages generally required under Ninth Circuit precedent
    5
        simply because they chose to litigate all the way to trial rather than admit liability
    6
        on the merits. 3
    7
              Moreover, as this Court has recognized, “the decision whether to award
    8
        prejudgment interest rests on ‘the district court’s sound discretion.’” William
    9
        Hablinski, 2007 WL 9734429 at *4 (quoting Polar Bear, 384 at 716 n. 12). For this
   10
        reason, it is unsurprising that a number of “factors” have arisen in the unique
   11
        context of various cases and been undisturbed on appeal. But these ancillary
   12
        factors cannot be divorced from the contexts of the cases applying them, and they
   13
        are not the rule of the Ninth Circuit. See, e.g., Williams v. Bridgeport Music, Inc.,
   14
        No. LACV1306004JAKAGRX, 2015 WL 4479500, at *46 (C.D. Cal. July 14,
   15
        2015) (“[Polar Bear] did not expressly limit the award of prejudgment interest
   16
        to…circumstances [involving undisputed copyright infringement]… § 504(b) does
   17
        not require a consideration of the state of mind of the infringing party.”). In short,
   18
        given the restitutionary purpose underlying an award of prejudgment interest,
   19
        Defendants’ retention and use of $2.8 million in profits here for nearly five years
   20
        justifies such an award.
   21
              Defendants also argue that no prejudgment interest is necessary to deter
   22
        Defendants’ future misconduct. However, deterrence is not the primary
   23
        consideration for awarding prejudgment interest, which is a measure of
   24
   25
        3
            This is particularly true in music copyright infringement cases where plaintiffs must often rely
   26 on circumstantial evidence to prove their case, and defendants can avoid summary judgment by
        stating that they never heard the copyrighted work, or that they independently created the
   27 infringing work, or that the infringing work is objectively not similar enough to establish
        liability—a fact question that is particularly complex in cases involving music.
   28
                                                           6
            REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR AN AWARD OF PREJUDGMENT INTEREST
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    1
        compensation and restitution, and not a penalty. Williams, 2015 WL 4479500, at
    2
        *46. Moreover, proper restitution is necessary to deter future misconduct, and
    3
        failure to require restitution encourages such misconduct, as a matter of simple
    4
        economics. To illustrate with a hypothetical: If a defendant wrongfully obtains $3
    5
        million and deposits the money in a savings account with 1.5 percent interest, after
    6
        five years, that defendant will have earned $233,501 in interest. If required only to
    7
        disgorge the principal $3 million, the misconduct has been rendered lucrative—and
    8
        similar misconduct is thus encouraged. A complete remedy serves a future
    9
        deterrent purpose, regardless of the infringing party’s mental state.
   10
   11      D. The rate of prejudgment interest should be no lower than 1.75 percent,
              and should be compounded.
   12
           The remaining issues raised in Defendants’ Opposition [Doc. 497]—related to
   13
        the calculation of an award of prejudgment interest—were addressed in Plaintiff’s
   14
        original Motion [Doc. 488]. But two points require a reply here: the interest rate
   15
        and compounding the prejudgment interest.
   16
           Interest Rate. The post-judgment interest statute and Ninth Circuit law support
   17
        setting prejudgment interest “at a rate equal to the weekly average 1-year constant
   18
        maturity Treasury yield…for the calendar week preceding the date of the
   19
        judgment.” 28 U.S.C. § 1961; See also Price v. Stevedoring Servs. of Am., Inc.,
   20
        697 F.3d 820, 836 (9th Cir. 2012); Frank Music Corp., 886 F.2d at 1552 (applying
   21
        this rate in a copyright infringement case). The judgment was entered on
   22
        September 3, 2019, with the preceding week’s published 1-year constant maturity
   23
        Treasury yield being 1.75%. As of the date of the jury’s verdict, this rate was
   24
        1.98%, as Defendants’ concede [Doc. 497, 14:4-5]. Defendants cite no authority
   25
        beyond a partial and misleading quote of 28 U.S.C. § 1961 for the proposition that
   26
        the rate of prejudgment interest should somehow be set at 0.11%, which is
   27
        absurdly low.
   28
                                                  7
         REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR AN AWARD OF PREJUDGMENT INTEREST
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    1
           Simple v. Compound Interest. Defendants also argue that simple interest, rather
    2
        than compound interest, fairly compensates Plaintiffs and serves as adequate
    3
        restitution. To quote the Ninth Circuit: “This assertion defies reality. Anyone with
    4
        a savings account, credit card, mortgage, or student loan knows that the modern
    5
        financial world employs compound interest as a general rule.” Price v. Stevedoring
    6
        Servs. of Am., Inc., 697 F.3d 820, 841–42 (9th Cir. 2012). The Ninth Circuit has
    7
        expressed its endorsement of compounding prejudgment interest, which “reflects a
    8
        growing consensus that the attitudes underlying the common law presumption [in
    9
        favor of simple interest] are being displaced by the modern recognition that
   10
        compound interest fosters fairness and efficiency.” Id. at 842 (reversing provision
   11
        of only simple interest and remanding to recalculate prejudgment interest with
   12
        compounding interest); See also Apple, Inc. v. Samsung Electronics Co., Ltd., 67
   13
        F.Supp.3d 1100, 1122 (9th Cir. 2014) (approving compounding prejudgment
   14
        interest award and noting that other courts have endorsed daily or annually
   15
        compounding prejudgment interest awards as necessary to account for the time
   16
        value of money and to fully compensate plaintiffs).
   17
                                          CONCLUSION
   18
           Plaintiffs respectfully request this Court award them compounding
   19
        prejudgment interest at a fair and reasonable interest rate determined by the Court.
   20
   21                                        Respectfully submitted,
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                                                  8
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        REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR AN AWARD OF PREJUDGMENT INTEREST
